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   IN THE DISTRICT COURT OF THE UNITED STATES

                    for the Western District of New York
                                  ____________________
                                                            MAY 2015 GRAND JURY
                                                            (Impaneled 05/08/2015)

THE UNITED STATES OF AMERICA

       -vs-                                                 INDICTMENT

DONALD GARDNER, JR.                                         Violations:
                                                            Title 18, United States Code,
                                                            Sections 2251(a), 2252A(a)(2)(A) and
                                                            2252A(a)(5)(B)
                                                            (5 Counts)



                                        COUNT 1

                           (Production of Child Pornography)

                              The Grand Jury Charges That:

       On or about February 2, 2014, at approximately 17:15:04 UTC, in the Western

District of New York, and elsewhere, the defendant, DONALD GARDNER, JR., did

knowingly employ, use, persuade, induce, entice, and coerce a minor, that is, Victim 1, a

person under the age of 18 years known to the Grand Jury, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, that is, an image

identified as Image A, knowing and having reason to know that the visual depiction would

be transported and transmitted using any means and facility of interstate and foreign

commerce; and knowing and having reason to know that the visual depiction would be

transported and transmitted in and affecting interstate and foreign commerce; and the visual
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depiction was produced and transmitted using materials that had been mailed, shipped, and

transported in and affecting interstate and foreign commerce by any means, including by

computer; the visual depiction was actually transported and transmitted using any means

and facility of interstate and foreign commerce; and the visual depiction was actually

transported and transmitted in and affecting interstate and foreign commerce.

       All in violation of Title 18, United States Code, Sections 2251(a) and 2251(e).



                                       COUNT 2

                           (Production of Child Pornography)

                         The Grand Jury Further Charges That:

       On or about February 2, 2014, at approximately 17:20:40 UTC, in the Western

District of New York, and elsewhere, the defendant, DONALD GARDNER, JR., did

knowingly employ, use, persuade, induce, entice, and coerce a minor, that is, Victim 1, a

person under the age of 18 years known to the Grand Jury, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, that is, an image

identified as Image B, knowing and having reason to know that the visual depiction would

be transported and transmitted using any means and facility of interstate and foreign

commerce; and knowing and having reason to know that the visual depiction would be

transported and transmitted in and affecting interstate and foreign commerce; and the visual

depiction was produced and transmitted using materials that had been mailed, shipped, and

transported in and affecting interstate and foreign commerce by any means, including by

computer; the visual depiction was actually transported and transmitted using any means




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and facility of interstate and foreign commerce; and the visual depiction was actually

transported and transmitted in and affecting interstate and foreign commerce.

       All in violation of Title 18, United States Code, Sections 2251(a) and 2251(e).



                                        COUNT 3

                           (Production of Child Pornography)

                         The Grand Jury Further Charges That:

       On or about February 2, 2014, at approximately 17:25:26 UTC, in the Western

District of New York, and elsewhere, the defendant, DONALD GARDNER, JR., did

knowingly employ, use, persuade, induce, entice, and coerce a minor, that is, Victim 1, a

person under the age of 18 years known to the Grand Jury, to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, that is, an image

identified as Image C, knowing and having reason to know that the visual depiction would

be transported and transmitted using any means and facility of interstate and foreign

commerce; and knowing and having reason to know that the visual depiction would be

transported and transmitted in and affecting interstate and foreign commerce; and the visual

depiction was produced and transmitted using materials that had been mailed, shipped, and

transported in and affecting interstate and foreign commerce by any means, including by

computer; the visual depiction was actually transported and transmitted using any means

and facility of interstate and foreign commerce; and the visual depiction was actually

transported and transmitted in and affecting interstate and foreign commerce.

       All in violation of Title 18, United States Code, Sections 2251(a) and 2251(e).




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                                            COUNT 4

                               (Receipt of Child Pornography)

                                The Grand Jury Charges That:

       On or about February 2, 2014, in the Western District of New York, and elsewhere,

the defendant, DONALD GARDNER, JR., did knowingly receive, and attempt to receive,

child pornography, as defined in Title 18, United States Code, Section 2256(8), that is, 3

image files, that had been shipped and transported using any means and facility of interstate

and foreign commerce, and that had been shipped and transported in and affecting interstate

and foreign commerce by any means, including computer.

       All in violation of Title 18, United States Code, Sections 2252A(a)(2)(A) and

2252A(b)(1).



                                            COUNT 5

                              (Possession of Child Pornography)

                                The Grand Jury Charges That:

       Between on or about February 2, 2014, and on or about May 7, 2014, in the Western

District of New York, and elsewhere, the defendant, DONALD GARDNER, JR., did

knowingly      possess   material,   that   is,   a   Facebook   account   in   the   name   of

Donnie.gardner.965, that contained images of child pornography, as defined in Title 18,

United States Code, Section 2256(8), that involved a prepubescent minor and a minor who

had not attained 12 years of age, that had been shipped and transported using any means

and facility of interstate and foreign commerce; that had been shipped and transported in

and affecting interstate and foreign commerce by any means, including by computer; and


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that was produced using materials that had been mailed, shipped and transported in and

affecting interstate and foreign commerce by any means, including by computer.

      All in violation of Title 18, United States Code, Sections 2252A(a)(5)(B) and

2252A(b)(2).


      DATED: Buffalo, New York, September 24, 2015.


                                                WILLIAM J. HOCHUL, JR.
                                                United States Attorney


                                         BY:    s/MARIE P. GRISANTI
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A TRUE BILL:


s/FOREPERSON




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